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 7
     Attorneys for Defendants, State of California
 8   and Debra Bowen, California Secretary of State

 9                            IN THE UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11

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13   UNITED STATES OF AMERICA,                              Case No.: 2:12-CV-01427-WBS-GGH
14                                           Plaintiff, STIPULATION AND [PROPOSED]
                                                        ORDER
15   v.
                                                            [Local Rule 143]
16   THE STATE OF CALIFORNIA; and DEBRA
     BOWEN, SECRETARY OF STATE OF
17   CALIFORNIA, in her official capacity,
18                                        Defendants.
19

20         Pursuant to Eastern District Local Rule 143, the parties to this action, through their

21   respective counsel of record, do hereby stipulate and agree as follows:

22         This action was initiated by Plaintiff United States of America against Defendants the State

23   of California, and Debra Bowen, California Secretary of State. The Complaint alleges violations

24   of the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA), 42 U.S.C. §§ 1973ff

25   to 1973ff-7, arising from the failure in 11 California counties to transmit absentee ballots to all

26   absent uniformed services voters and overseas voters by the 45th day before the June 5, 2012

27   Federal primary election and the failure to establish or implement adequate procedures to transmit

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                                    STIPULATION AND [PROPOSED] ORDER (2:12-CV-01427-WBS-GGH)
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 1   absentee ballots by mail or electronically in accordance with the voter’s preferred method of
 2   transmission.
 3         A Consent Decree was entered on May 30, 2012, between Plaintiff and Defendant
 4   Secretary of State. (Dkt. # 7.) The Consent Decree fully remedies the allegations raised in the
 5   Complaint regarding the June 5, 2012 Federal primary election. The Court retains jurisdiction to
 6   enter further relief as may be necessary to effectuate the Consent Decree’s terms and ensure
 7   compliance with UOCAVA through December 31, 2014, and any party, for good cause shown,
 8   may move to extend the Consent Decree or to reopen the case. (Dkt. #7, 11:20-23.)
 9         Defendant State of California is not a party to the Consent Decree and has not answered the
10   complaint. All parties to this action hereby agree that no responsive pleading shall be required
11   from Defendant State of California unless Plaintiff United States makes a written request for such
12   a responsive pleading. If a responsive pleading is requested, it shall be due no later than 30 days
13   after service, by mail or by electronic mail, on counsel for Defendant State of California.
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                                    STIPULATION AND [PROPOSED] ORDER (2:12-CV-01427-WBS-GGH)
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 1   The undersigned agree to entry of this Stipulated Order.
 2   Dated: July 26, 2012
 3   For Defendants State of California and
     Debra Bowen, California Secretary of State:
 4
     KAMALA D. HARRIS
 5   Attorney General of California
     DOUGLAS J. WOODS
 6   Senior Assistant Attorney General
 7
     /s/ George Waters
 8   _______________________________
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13   For Plaintiff, United States of America:
14   THOMAS E. PEREZ
     Assistant Attorney General
15
     Civil Rights Division
16
     /s/ Jaye Allison Sitton    (As Authorized on July 26, 2012)
17
     _______________________________
18   T. CHRISTIAN HERREN, JR.
     ABEL GOMEZ
19   JAYE ALLISON SITTON (D.C. Bar # 453655)
     OLIMPIA E. MICHEL (N.Y. Bar # 4358321)
20   Attorneys, Voting Section
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                                   STIPULATION AND [PROPOSED] ORDER (2:12-CV-01427-WBS-GGH)
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 1   IT IS SO ORDERED.
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 3   Dated: July 30, 2012
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                            STIPULATION AND [PROPOSED] ORDER (2:12-CV-01427-WBS-GGH)
